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The llonorable l\loel l., l[illman
ll_lnitcd States `l')istriet Court
Mitchell H, Cohen U.S. Courthouse
bloom (“')UQO

l John F, Gerry Plaza

Camden, N.l 08101

Re.' .S'rmoeo, Jm"_ (R&M) r. MX Who!esot'e !*`ue! (.`orpor'olion. et of.
(_'i'iW.`/Aclr`on Nr), ()6-('.'?"~3933 (NLH_)

I)ear lodge l lillman:

'l`his Finn represents plaintil`l` Sunoco, lne. (_`R&.M) (“h`unoco”) in the above-
referenced matter. On Scptember 12, 2()()7, Sunoco filed a Motion l`or Partial Sumrnary
Judgrnent against MX Wholesale Fuel Coiporation (“MX") and h/lonmouth 1-’etroleurn1 lne. T hat
motion is presentl)r returnable helore Y`our l--lonor on ()ctober 19, 2001 MX opposed that
motion with a two~page Certilication of its eounscl, (.`.`.harles l\/loriarty. Sunoco timer replied to
l\/lX`s opposition arguing, amongl other things. that l\/lr. i\/loriarty lacked the requisite personal
knowledge to submit a Certitication in opposition to S‘unoco’s l\/lotion and, thercl`ore, the same
should he disregarded

()n ()ctoher 16, we received a copy ot`a surrcpiy l`rom MX in the t`orrn ol` a
C.Tert:ifieat'iort l'roin Ronald l_trousscll which is an apparent attempt to cure deficiencies with its
earlier opposition l\/lr. l_lrousscll states that there are issues o l` material fact regarding the
amount that is owed to Sunoco. Essentially, MX is arguing that it is entitled to set-ol`l` as a result
of alleged breaches by Sunoco ol`the parties’ li`ranchise Agrecrnent. in support of its set-ot`l`
defense1 MX points to an accounting report ol`.lac-k K.inas (“Kinas Report”).

l\/|X’s surreply should be stricken l.ocal Civil l{ule 7i l (d`)(`r`)) prohibits surreplies
Without permission oi"thc .ludge or l\/lagistratc .ludge to Whom the case is assigned Wc are not
aware of`any such permission granted to MX by the Court. According,ly, the Court should strike
MX’s surreply.

l’l:i|ar.ie|phia ].texton Washmgton, D.CJ. Derroir Ncw Yorlt T'irrs|'mrgh

 

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'i`hc Honorable Noel L. llillman
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October 18, 200?1

ln the event the C.ourt does not strike l\/IX’s surreply_. Sunoco respectfully requests
that the C§t)tirt consider this letter brief because, as a matter of lavv', set»off for breach oi`a
franchise or distribution agreement is not permitted in an action for the price of goods delivered
and accepted.

MX"s Set-()l`|'Del`eItse _Does Not Preelude lintering
Judgment on§unoco"s Brcach of Contract Clairn

MX"s only defense for not paying for goods delivered and accepted is an alleged
right to set~o'ffi T his delcnse fails as a matter of law. In transactions involving the sale of goods,
a buyer"s ability to claim set~off is controlled by the UCC., which only permits a buyer to utiliae
a "‘set-t‘)fl"` defense il" the buyer"s sct~ot`fclaim relates to the_gt_nt_e__gont;rt;i__e_t_. in this regar lt
Section 2»7] 7 of the UC_`.(_`. states:

fhc buyer on notifying the seller ofhis intention to do so may
deduct all or any part of the damages resulting from any breach of
the contract from any part of the price still due under the same
contract

N..I.S.A, lZA:Q-?l? (_emphasis added). While New .lersey Courts have not addressed set-off
under this provision of the UCC in any known published opinion,1 several courts have done so in
cases factually analogous to the present matter. S£ gg¢ CJar]isle C.`.orr). v. Uresco C}_onstr_.
Matcrials lne,, 823 F. Supp. 271 (_tv’l.l). Pa. 1993) (_granting summary judgment for the price ol'
goods accepted by the distributor iu')twithstanding the distributor’s set-ol“l`claim for an alleged
breach of thc parties’ distributorship agreement); Hcl]cndall Distribs., lnc. v. S.B. "jl_',homas, inc.,
559 l*`. Supp. 573 (E,l'). Pa. 1933) {_`granting summary judgment in favor of the manufacturer and
in doing so holding that the “`l_iniform C_`.on'in'icrcial Cir.)de § 2-717 does not provide a right to set
off the amount owed under § 2-606 and § 2-607 because the obligation to pay for goods tendered
and accepted does not arise under the “‘same contract" as the alleged breach of an exclusive
dealing or distributorship arrangement by the del"endant."`) ( citing Shalp Elecs. Ct.)i'pl_=__A_ijk_i__lt_¢
Medo inc., 86 App. l_)iv. 2d 817_, 452 N,Y.S.Qd 589 (`]982)); 'l`ravenol liab,. lnc. v._ii€_otal, Ltd.,

 

 

 

l Thc Distriet of`thv Jcrsey has ruled en this precise issue under the UCC in an unpublished deeision,

 

delcndants` attempt to use alleged breaches ot'a distribution agreement to set-ot`t'Teknion"s claims t`or goods
delivered but not paid for by the defendants `l`he. Court. granted `l`ekniou summaryjudgment for the price of goods
and certified thatjudgmerit as final under l"`ederal l€.ule ol"Civil Procedute 54(}3} thereby permitting Teknion to
execute immediately

 

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The llonorable l\loel L. llillman
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474 N.E.Bd 1070 (1985) (granting summary judgment to manufacturer despite a set-off
affirmative defense and stating that “it is well established that the buyer’s *obligatir.in to pay for
goods tendered and accepted does not arise under the "same contract" as the alleged breach of an
exclusive dealing or distributorship arrangement’ by the seller."") (quoting, l-Iellendall, supra and
citing C.R. Bal'd lnM__l\_/led_i_c_al_lil_cg:_§__._§o_rp_.u, 529 l~`. Supp. 1382, 1337 (I)_ Mass_ 1982`)).

 

The result in the present matter should be no different than that in Q_ar_l_i_sl_g,
Hcllendall_, and Travenol. While related., the invoices and the l"ranchise Agreement cannot
conceivably be characterized as one and thc "'samc eontract."’ 'l`hus, the ll[](§ does not permit
MX to set off Sunoeo’s action for price with allegations of alleged breaches ofthe Franchise
Agreement.

As set forth in Sunoco’s opening and reply memoranda oflaw, MX admitted that
it owes l‘.iunoco $1,533_. 894 l"or motor fuel accepted and then resold by MX. Now, after bricting
has closed on Sunoco’s motion for partial summary judgment, MX tiles a surreply in an attempt
to create an issue of fact regarding the amount allegedly owed by claiming that Sunoco breached
the underlying l"ranchise Agreement thereby creating a right to set-off, The Court should strike
l\/.[X`s surreply as it Was lilcd without leave as required by the liocal Rules. Alternatively, the
CTeurt should hold that as a matter ol`law l\/lX cannot set-o|`[`its obligation to pay for goods
tendered and accepted With an alleged breach ofthe l""ranchise Agreemcnt.

Respectfuliy submittcd,

 

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l`r`ti‘:lt\llltj‘i v`.¢’.

cc: Charles M. l\/loriarty._ lisquire (via l`ax)
W. Petcr l¢tagan1 quuire (via l`as)
r'\. Christopher Young, Esquire

